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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

____________________________________
CHRISTOPHER MCCROBIE,                      )
individually, and on behalf of all         )
others similarly situated,                 )
                                           )          No. 15-cv-0018-LJV-MJR
                               Plaintiff,  )
               v.                          )
                                           )
PALISADES ACQUISITION XVI,                 )
LLC, ASTA FUNDING, INC.,                   )
HOUSLANGER & ASSOCIATES,                   )
PLLC, and TODD HOUSLANGER,                 )
                                           )
                               Defendants. )
____________________________________)

                     MEMORANDUM OF LAW OF
DEFENDANTS PALISADES ACQUISITION XVI, LLC AND ASTA FUNDING, INC. IN
 OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION AND TO
                     APPOINT CLASS COUNSEL

                                    Respectfully submitted by BLANK ROME LLP

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          Defendants Palisades Acquisition XVI, LLC (“Palisades”) and Asta Funding, Inc. (“Asta”

and with Palisades, collectively, the “Palisades Defendants”) submit this memorandum of law in

opposition to Christopher McCrobie’s (“Plaintiff”) motion for class certification (“Motion to

Certify”), Dkt. No. 163.

                                  PRELIMINARY STATEMENT

          Plaintiff asks this Court to certify a class of consumers subject to legal execution of

judgments against their assets by Palisades and its counsel, Houslanger & Associates and Todd

Houslanger (collectively the “Houslanger Defendants”), even though Plaintiff cannot demonstrate

any class member’s entitlement to recovery except through individualized proceedings. Each putative

class member was involved in their own collection lawsuit based on their own unique set of facts and

circumstances. In denying class certification, this Court should be cognizant that “each of those

alleged injuries has the potential to be very different — and could turn on very different proof.”

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145, 163 (2d Cir. 2012).

The ultimate embodiment of class futility is the Plaintiff himself, who does not even qualify as a

member of his own class based on the specific factual rulings made in his underlying collections

case in state court 1 as well as the record developed in discovery.

          This Court is cognizant that Palisades’ ownership of Plaintiff’s debt is the seminal issue in

this case, as this Court commented that “[i]f that turns out to be the case here, then the defendants

will be entitled to judgment—perhaps summary judgment.” Dkt. No. 79, pg. 15, fn.6. Discovery

has revealed that Palisades is indeed the owner of Plaintiff’s debt, for which Houslanger did indeed

have the correct documentation for Palisades’ ownership of the debt. (Declaration of Scott




1
    Centurion Capital Corporation v. Christopher McCrobie. (Buffalo City Court Index No. G07295/06)

                                                   5

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Wortman (“Wortman Decl.”), Ex. A at Houslanger000124-000127). No mention of these facts

appears in Plaintiff’s Motion to Certify.

        Beyond that, an overriding obstacle to class certification is Plaintiff’s grossly overbroad class

definition, which includes all consumers who were subject to legal execution against them. The

Supreme Court recently upheld the requirement that each individual class member suffer a “concrete

harm” in order to have standing to sue. TransUnion LLC v. Ramirez, No. 20-297, 2021 WL 2599472

(U.S. June 25, 2021). This reinforces established Second Circuit law mandating that a class definition

includes only members with Article III standing. Denney v. Deutsche Bank AG, 443 F.3d 253,263 (2d

Cir. 2006). Nothing in the Plaintiff’s class definition requires the executions to be unlawful, excessive,

or unauthorized. Of the thousands of judgment debtors who Plaintiff asserts would be class members,

there is no Article III standing because they either (i) paid a judgment which was rightfully due and

owing to Palisades, or (ii) incurred no damage that is fairly traceable to conduct by the Defendants, if

at all. Such an over-encompassing class cannot be certified.

        A brief procedural history illustrates that Plaintiff’s case has grown steadily larger over time

in a fruitless attempt by Plaintiff to compensate for factual shortcomings and omissions, and legal

insufficiencies. This action was commenced almost six years ago on January 6, 2015 setting forth

26 paragraphs alleging a FDCPA violation because Palisades was not “the proper judgment

creditor” and because Palisades and its counsel, the Houslanger Defendants, were “improperly

trying to garnish Plaintiff’s wages” stemming from a collection action in state court. (Dkt. No. 1,

¶ 25.) The complaint was amended on May 15, 2015 to expand the allegations to forty-four

numbered paragraphs alleging the same FDCPA violations, but also adding a NY GBL § 349 claim

that Palisades and the Houslanger Defendants, “apparently know that they lack the proper

documentation, but enforce the judgments anyways”. (Dkt. No. 7, ¶ 42).




                                                    6

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          While the first amended complaint was pending, McCrobie filed a motion to set aside the

money judgment (“Judgment”) rendered in state court in order to vacate Palisades’ garnishment

of his wages. Two years later, on May 22, 2017, the Buffalo City Court entered a ruling that

McCrobie’s wages had been “rightfully obtained by execution of a valid judgment”. (Dkt. No. 68,

see also, Wortman Decl., Ex. B at PA001740-001744). This was not mere dicta but was part of a

paragraph labelled “ORDERED, ADJUDGED AND DECREED”. Id. After unequivocally ruling

that Palisades’ execution was rightful, the state court ordered McCrobie to repay the garnished

funds back to Palisades. Id. McCrobie never perfected an appeal of this decision, which stands as

the final judgment of the state court. (Wortman Decl., Ex. B at PA001746).

          McCrobie, who was “rightfully” garnished by Palisades, filed his second amended

complaint on August 29, 2019 attempting to champion a class of consumers whose debts were

wrongfully garnished by Palisades. (Dkt. No. 114). The second amended complaint, now expanded

to one hundred and sixteen numbered paragraphs, contained theories of vicarious liability against

Palisades and Asta for the conduct of the Houslanger Defendants in executing upon the Judgment,

even though the state court had explicitly upheld that execution. The second amended complaint

expanded upon the NY GBL § 349 claim to state that Palisades and Asta used “false, misleading,

and deceptive practice of taking money from the wages and bank accounts of Plaintiff and other

class members despite the fact that Palisades Acquisition XVI, LLC had no legal right to do so.”

(Dkt. No. 114, ¶ 103). This claim was made despite the fact that Plaintiff possessed bills of sale

between Palisades and its assignors in the Great Seneca Portfolio covering debts owed by members

of the putative class. 2 Further, Plaintiff made no mention in the second amended complaint that

the Buffalo City Court had given Palisades the legal right to garnish his wages after Plaintiff had


2
    These bills of sale were the basis for filing the first amended complaint.

                                                        7

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unsuccessfully litigated the garnishment on its merits. Indeed, McCrobie never mentioned the

distinctly material fact that the state court had ordered McCrobie to repay those returned garnished

amounts to Palisades under a rightful execution of the Judgment.

                    LEGAL STANDARD TO CERTIFY A CLASS ACTION

        The class proponent must satisfy each of the four prerequisites of Rule 23(a) and also

demonstrate that the case fits into one of the permissible categories of class actions listed in Rule

23(b). As relevant here, Rule 23(a) permits certification only if “there are questions of law or fact

common to the class,” Fed. R. Civ. P. 23(a)(2), and “the claims or defenses of the representative

parties are typical of the claims or defenses of the class,” Fed. R. Civ. P. 23(a)(3)—which in turn

require that the “class members ‘have suffered the same injury,’” Wal-Mart Stores, Inc. v. Dukes,

131 S. Ct. 2541, 2555 (2011) (quoting Gen. Tel. Co. of Sw v. Falcon, 457 U.S. 147, 157 (1982)).

Where, as here, plaintiffs seek certification of a damages class under Rule 23(b)(3), the district

court also must also find that “questions of law or fact common to class members predominate

over any questions affecting only individual members, and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3);

see also, e.g., Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997) (noting that the

predominance requirement “tests whether proposed classes are sufficiently cohesive to warrant

adjudication by representation”).

        "[A] party seeking to maintain a class action must affirmatively demonstrate his

compliance with Rule 23." Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013). As the Court

explained:

        [Rule 23] does not set forth a mere pleading standard. Rather, a party must not only
        be prepared to prove that there are in fact sufficiently numerous parties, common
        questions of law or fact, typicality of claims or defenses, and adequacy of
        representation, as required by Rule 23(a). The party must also satisfy "through


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        evidentiary proof' [the predominance and superiority requirements] . . . of Rule
        23(b).

Id. (all emphases added and citations omitted unless otherwise noted). Courts must conduct a

"rigorous analysis" to determine whether the requirements of Rule 23 are met. Id.

        Despite, the Supreme Court’s decisions in Wal-Mart Stores and Comcast, the standard of

review used by Plaintiff in his Brief in Support of the Motion for Class Certification urges this

Court to apply the requirements of Rule 23 “liberally, not restrictively.” (Brief at 6.) Tellingly,

however, Plaintiff cites to decades old case law, which pre-date the amendments to Rule 23, the

Supreme Court’s rulings in Wal-Mart Stores and Comcast, and the Second Circuit’s seminal case

of In re Initial Pub. Offerings Sec. Litig., 471 F.3d 24 (2d Cir. 2006), decision clarified on denial

of reh'g sub nom. In re Initial Pub. Offering Sec. Litig., 483 F.3d 70 (2d Cir. 2007). (Brief at fn.

18, 19, 22.) As the court in In re Initial Pub. Offerings Sec. Litig., made clear, courts are required

to (1) determine that each Rule 23 requirement has been met and (2) resolve all factual disputes

necessary to do so before certifying a class. Consequently, and notwithstanding Plaintiff’s

contentions, a court may not use the abrogated “some showing” standard from Caridad v. Metro–

North Commuter Railroad, 191 F.3d 283, 292 (2d Cir.1999), and In re Visa Check/ MasterMoney

Antitrust Litigation, 280 F.3d 124, 134–35 (2d Cir.2001). 3

        Accordingly, to succeed in certifying a class, Plaintiff must prove that he has met the Rule

23 requirements by a preponderance of the evidence. See Teamsters Loc. 445 Freight Div. Pension

Fund v. Bombardier Inc., 546 F.3d 196, 201 (2d Cir. 2008) (“we dispel any remaining confusion

and hold that the preponderance of the evidence standard applies to evidence proffered to establish



3
 “In consequence, plaintiffs' authorities are of limited precedential value in this case as they were decided
under a different—and generally less restrictive—standard which, among other things, required district
courts to accept the plaintiff's factual allegations as true.” Edwards v. Publishers Circulation Fulfillment,
Inc., 268 F.R.D. 181, 184 (S.D.N.Y. 2010).

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Rule 23's requirements”); see also, Myers v. Hertz Corp., 624 F.3d 537, 546 (2d Cir. 2010) (“party

seeking class certification bears the burden of establishing by a preponderance of the evidence that

each of Rule 23's requirements has been met”).

         As discussed below, Plaintiff cannot meet this burden because he lacks factual support for

each of his bald allegations. Indeed, “a district court may only certify a class if it is satisfied, after

a rigorous analysis, that the requirements of Rule 23 are met.” Felix v. Northstar Location Servs.,

LLC, 290 F.R.D. 397, 400–01 (W.D.N.Y. 2013).

                                              ARGUMENT

    I.      THE MOTION ABANDONS PLAINTIFF’S CENTRAL CLASS
            ALLEGATIONS REGARDING PALISADES’ OWNERSHIP OF THE
            UNDERLYING JUDGMENT.

         In the Motion to Certify, Plaintiff states, at multiple points, that the claims at issue here

only address the post-judgment conduct of Defendants. (Brief at 1, 3, 5, 14.) However, the SAC

does not allege that the Palisade Defendants’ alleged liability arises from their own post-judgment

conduct. (See SAC at ¶¶ 66-74.) Rather, as recognized by this Court in denying the Palisades

Defendants’ motion to dismiss the FAC, the only reason that the Palisades Defendants remain in

this case is that Plaintiff pled that the Palisades Defendants “did not own or have the right to collect

Centurion Capital Corporation's judgment because that judgment never was assigned to any other

person or entity at all, and certainly not to Palisades XVI, LLC.” 4

         This unilateral amendment is an implicit acknowledgement by Plaintiff that his factual

allegations in support of certification have collapsed, abandoning any attempt to show that

Palisades did not own McCrobie’s judgment and that Palisades did not have legal grounds to


4
  See, Wright v. Ernst & Young LLP, 152 F.3d 169, 178 (2d Cir.1998) (“party may not amend [a] pleading
through statements in briefs.”); Fadem v. Ford Motor Co., 352 F.Supp.2d 501, 516 (S.D.N.Y.2005) (“It is
long-standing precedent in this circuit that parties cannot amend their pleadings through issues raised solely
in their briefs).

                                                     10

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enforce said judgment. Consequently, Plaintiff’s only remaining class claims against the Palisades

Defendants are premised on an unstructured and vague theory of vicarious liability.

    II.      PLAINTIFF’S PROPOSED CLASS CANNOT BE CERTIFIED BECAUSE IT
             NECESSARILY INCLUDES MEMBERS LACKING ARTICLE III
             STANDING, INCLUDING THE PLAINTIFF.

          Plaintiff defines the purported class solely as consumers with New York addresses for

whom Houslanger issued a judgment execution on behalf of Palisades. Article III prohibits

certification of such a grossly overbroad class. As summarized by the Supreme Court, “No

concrete harm, no standing.” TransUnion LLC v. Ramirez, No. 20-297, 2021 WL 2599472, at *3

(U.S. June 25, 2021). The law is settled that "no class may be certified that contains members

lacking Article III standing." Denney, 443 F.3d at 264. Filing a suit as a class action "does not

relax [the] jurisdictional requirement" of Article III. Id. "The class must therefore be defined in

such a way that anyone within it would have standing." Id. (citing Presbyterian Church of Sudan

v. Talisman Energy, Inc., 244 F. Supp. 2d 289,334 (S.D.N.Y. 2003)) ("[E]ach member of the class

must have standing ....")). The "irreducible constitutional minimum" of standing requires: (1) an

injury in fact, (2) fairly traceable to the defendant's allegedly unlawful conduct, and (3) that is

likely to be redressed by the requested relief. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-

61 (1992).

          As discussed above, Plaintiff’s Motion to Certify excises the central claim against the

Palisades Defendants that (1) Palisades did not own McCrobie’s judgment, and that (2) Palisades

did not have legal grounds to enforce said judgment. Furthermore, Plaintiff acknowledges that

“[i]n 2007, the Palisades Defendants purchased millions of judgments on the secondary market.”

(Brief at 2.) Thus, Plaintiff’s proposed class includes all persons, including those subject to legal

execution of a judgment owned by Palisades. As succinctly stated by the Supreme Court, “the

public interest that private entities comply with the law cannot be converted into an individual

                                                 11

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right by a statute that denominates it as such, and that permits all citizens (or, for that matter, a

subclass of citizens who suffer no distinctive concrete harm) to sue.” TransUnion LLC v. Ramirez,

supra at *9.

        In addition, Plaintiff’s proposed class, on its face, includes consumers who were lawfully

and properly garnished by Houslanger and thus lack Article III standing. Such class members are

not hypothetical. Significantly, Plaintiff himself was found by the state court to have been properly

notified of the collections suit against him and properly garnished by Palisades. Therefore, Plaintiff

did not suffer a concrete harm, and his claims to the contrary are unavailing. Likewise, Plaintiff’s

putative class cannot be so overbroad that it would include a consumer who litigated their

execution in state court, had the execution declared “rightful”, and was ordered to pay back the

garnished funds to Palisades. (i.e., the Plaintiff, Christopher McCrobie). 5 In effect, Plaintiff is

asking this Court to “presume a material risk of harm,” 6 and to assume standards by which to

establish Article III standing for a putative class without providing any cognizable path or evidence

in support. 7




5
  “Plaintiffs must maintain their personal interest in the dispute at all stages of litigation. A plaintiff must
demonstrate standing “with the manner and degree of evidence required at the successive stages of the
litigation.” TransUnion LLC v. Ramirez, No. 20-297, at *10 (U.S. June 25, 2021), citing Davis v. Federal
Election Comm'n, 554 U.S. 724, 733, 128 S.Ct. 2759, 171 L.Ed.2d 737 (2008); Lujan, 504 U.S., at 561,
112 S.Ct. 2130.
6
 A court “cannot simply presume a material risk of concrete harm.” TransUnion LLC v. Ramirez, No. 20-
297, 2021 WL 2599472, at *14 (U.S. June 25, 2021) (citation omitted).
7
  In support of standing, the plaintiffs in TransUnion thus contend that the TransUnion mailings were
formatted incorrectly and deprived them of their right to receive information in the format required by
statute. But the plaintiffs have not demonstrated that the format of TransUnion's mailings caused them a
harm with a close relationship to a harm traditionally recognized as providing a basis for a lawsuit in
American courts. TransUnion LLC v. Ramirez, No. 20-297, 2021 WL 2599472, at *15 (U.S. June 25, 2021)

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    III.      THE CLASS MEMBERS CANNOT SATISFY RULE 23(A) BECAUSE THE
              NUMEROUS AND ACKNOWLEDGED DIFFERENCES AMONG PUTATIVE
              CLASS MEMBERS PRECLUDE CLASS CERTIFICATION.

              A. COMMONALITY

           "Where the same conduct or practice by the same defendant gives rise to the same kind of

claims from all class members, there is a common question." Johnson v. Nextel Commc'ns Inc.,

780 F.3d 128, 137 (2d Cir. 2015) (citation omitted). Plaintiff presents two “common” questions

for the putative class, “(1) whether the potential class members received adequate notice of the

assignment of a judgment to the Palisades Defendants and, (2) if not, whether the post-judgment

collection efforts of the Houslanger Defendants violate the FDCPA.” Motion to Certify, pg. 10.

Plaintiff makes the bold proclamation that “answer to these questions will be the same for all class

members.” Id. However, Plaintiff has it backwards: the question asked of all putative class

members may be the same, but their individual answers to these questions will differ drastically

based on their circumstance. Here, it would take mini-hearings on the merits of each individual

case to determine the answer for each individual class member. This is untenable and contrary to

Rule 23's inherent "ascertainability" requirement that a class be "sufficiently definite so that it is

administratively feasible for the court to determine whether a particular individual is a member."

Brecher v. Republic of Argentina, 806 F.3d 22, 24 (2d Cir. 2015). 8

           Critically, Plaintiff is not even referring to the “conduct or practice” of Palisades or

Houslanger when formulating the common questions for the class. Plaintiff cites to Chase Bank

USA, N.A. v. Cardello, 2010 NY Slip Op 20090, 27 Misc. 3d 791, 794, 896 N.Y.S.2d 856, 858

(Civ. Ct.) regarding the appropriate notice to be sent to a judgment debtor when the judgment is



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 “A class definition is inadequate if a court must make a determination of the merits of the individual
claims to determine whether a particular person is a member of the class.” Felix v. Northstar Location
Servs., LLC, 290 F.R.D. 397, 401 (W.D.N.Y. 2013).

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assigned. Cardello put the onus on the assignor of the judgment to provide this notice to the

consumer, not on Palisades. Id. at ¶ 3 (“due process requires that notice of the assignment be given

to the debtor by the assignor and not by the assignee.”) Plaintiff has never alleged that Palisades,

as assignee, was legally responsible for notifying each consumer of the assignment of each

judgment. The only commonality of the class is that Palisades purchased their judgments. The

legally actionable facts, the failure of the assignor to send notice of the assignment or the debtor’s

failure to receive such notice, does not involve Palisades or Houslanger.

        The commonality requirement in Rule 23(a)(2) compels “the plaintiff to demonstrate that

the class members ‘have suffered the same injury.’” Dukes, 131 S. Ct. at 2551 (quoting Falcon,

457 U.S. at 157). Plaintiff’s proposed class cannot be certified because it revolves around each

class member’s unique resolution of actions taken by parties other than Palisades, Asta, or

Houslanger. There is no commonality fairly traceable to the actions of the defendants to this action.

            B. TYPICALITY

        Rule 23(a) requires putative class representatives to establish that they seek to vindicate

the same basic wrong as the absent class members. E. Tex. Motor Freight Sys., Inc. v. Rodriguez,

431 U.S. 395, 403 (1977); see also, Schlesinger v. Reservists Comm. to Stop the War, 418 U.S.

208, 216 (1974) (“a class representative must be part of the class and ‘possess the same interest

and suffer the same injury’ as the class members”). Here, Plaintiff is unique amongst the potential

class members in that Plaintiff’s legal rights were adjudicated and decided against him in state

court. (Dkt. No. 68). Generally, “[t]o establish typicality under Rule 23(a)(3), the party seeking

certification must show that each class member’s claim arises from the same course of events and

each class member makes similar legal arguments to prove the defendant’s liability.” In re Flag

Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 35 (2d Cir. 2009) (citing Robidoux v. Celani, 987

F.2d 931, 936 (2d Cir. 1993) (internal quotation marks omitted). Typicality is not met "where a

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putative class representative is subject to unique defenses which threaten to become the focus of

the litigation." Madden v. Midland Funding, LLC, 237 F. Supp. 3d 130, 157 (S.D.N.Y. 2017),

citing to Vincent v. Money Store, 304 F.R.D. 446, 455 (S.D.N.Y. 2015).

        If the course of events for all class members were identical to the Plaintiff’s journey

through this case, the results would be disastrous for the purported class. First, Plaintiff is not

claiming that he was “threatened” with an unlawful collection, or that he received any false

communications. Instead, Plaintiff had no knowledge of Houslanger’s collection efforts until the

garnishment had already been served on his employer. (Dkt no. 163-1, at ¶ 14). Plaintiff therefore

lacks a cause of action for false threats or misleading communications, as the execution on the

Judgment was not a threat of collection but simply the action of collection itself. See, Rumfelt v.

Midland Funding LLC, No. 18-CV-6420 FPG, 2019 U.S. Dist. LEXIS 71860, at *18 (W.D.N.Y.

Apr. 29, 2019).(“because the plain language of § 1692e(5) extends only to threats and not actions

already taken, the filing of a complaint—an action already taken—did not violate the statute.”)

Second, Plaintiff litigated the garnishment and underlying Judgment on the merits, for which the

state court ruled that Palisades’ garnishment on the Judgment was “rightful”, for which Plaintiff

was ordered to repay all sums back to Palisades. (Dkt no. 68). Lastly, Palisades possesses the bill

of sale showing that it did indeed purchase the Plaintiff’s specific debt, destroying any allegations

that Palisades made ‘false’ claims about being the creditor to whom the Judgment was owed.

(Wortman Decl., Ex. A at Houslanger000124-000127).

        Plaintiff’s unique position vis-à-vis the state court Judgment, the garnishment, and the

correct bill of sale for his debt have become the focus of this litigation. Plaintiff therefore lacks

any typicality concerning his proposed class of injured consumers.




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    IV.      PLAINTIFF IS NOT AN ADEQUATE CLASS REPRESENTATIVE AND THE
             COURT SHOULD DENY CERTIFICATION.

          “[T]he adequacy requirement is twofold: the proposed class representative must have an

interest in vigorously pursuing the claims of the class and must have no interests antagonistic to

the interests of other class members.” Denney v. Deutsche Bank AG, 443 F.3d 253, 268 (2d Cir.

2006). The Court may also consider “(1) whether the proposed plaintiffs are credible; (2) whether

the proposed plaintiffs have adequate knowledge of the case and are actively involved; and (3)

whether the interest of the proposed plaintiffs are in conflict with those of the remainder of the

class.” Spagnola v. Chubb Corp., 264 F.R.D. 76, 95 (S.D.N.Y. 2010).

          In cases where the proposed representative of a putative class has “so little knowledge of

and involvement in the class action that they would be unable or unwilling to protect the interests

of the class against the possibly competing interests of the attorneys,” they are an inadequate

representative and the Court should deny class certification. Maywalt v. Parker & Parsley

Petroleum Co., 67 F.3d 1072, 1077-78 (2d Cir. 1995). Plaintiff is not an adequate representative

of the putative class                                                                  , his lack of

understanding of what a class action is and his duties in that role, and lack of knowledge related to

this action and the related state court matter.




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            B. PLAINTIFF LACKS KNOWLEDGE OF THIS ACTION AND HIS ROLE
               AS CLASS REPRESENTATIVE

        Plaintiff further is an inadequate class representative because he lacks knowledge and

understanding of the allegations made in the SAC. Indeed, he has “so little knowledge or

involvement in the class action that [he] would be unable or unwilling to protect the interests of

the class against the possibly competing interest of the attorneys.” Maywalt v. Parker & Parsley

Petroleum Co., 67 F.3d 1072, 1078 (2d Cir. 1995).

        Regarding the instant lawsuit, Plaintiff testified that it is:

        “A: "Just a general lawsuit that a debt collection was put against me, was
        wrongfully filed in the Credit -- it was the -- was it Credit Act, and there were things
        that were done improperly, and they garnished my wages against it."

(Dkt. No. 163-3, McCrobie Trans. at 10:16-22.) Likewise, as seen in the deposition testimony,

McCrobie has a very limited understanding of what a class action is and his role as a class

representative. (Id. at 137:18-140:6). Correspondingly, Plaintiff, (1) does not know who the

defendants are in this action or their roles, including why Asta was added as a defendant, id. at

10:23-11:3, 135:17-137:9, 154:14-155:13, (2) did not conduct any investigation regarding the

claims in this action, id. at 123:13-126:14, (3) was not involved in drafting the complaints and did

not request any revisions, id. at 193:17-194:2, and (4) did not know why he amended his complaint,

id.at 119:15-20.

        Plaintiff apparently does not have any input on the strategic decisions of this matter. (“I

have to say, to my best knowledge, probably not much [input on the strategy of the case and

prosecution of the action]”). (Id. at 140:7-15). Moreover, Plaintiff had no information, knowledge

or understanding as to, (1) the distinction between the federal and state court matters, and why he

waited eight months after filing the instant federal lawsuit to challenge the state court judgment,

id. at 68:9-69:11, 72:22-76:19, 93:13-97:3, (2) the state court’s decision against McCrobie and


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dismissal of his appeal, id. at 100:23-106:25, (3) why Asta was added as a defendant in this action,

id., at 134:16-137:9, 154:14-155:17, (4) Defendants’ Offer of Judgment, dated August 5, 2015, id.

at 156:22-158:2, and (5) his potential responsibility for the costs of this action if unsuccessful, id.

at 143:13-144:5.

        This testimony demonstrates that Plaintiff was not involved in the commencement of this

action as a putative class action, has not stayed updated on developments in this matter, and lacks

even a rudimentary substantive understanding of the legal issues. 9 Thus, McCrobie is not an

adequate class representative for the putative class.            See Moskowitz v. La Suisse, Societe

D'Assurances sur la Vie, 282 F.R.D. 54, 74 (S.D.N.Y. 2012) (finding plaintiffs to be inadequate

class representatives where “lack of knowledge of the litigation is not simply a matter of ignorance.

None of the plaintiffs stayed abreast of the litigation and there is a stark lack of substantive

discussion with their attorneys”); see also Scott v. New York City Dist. Council of Carpenters

Pension Plan, 224 F.R.D. 353, 355-56 (S.D.N.Y. 2004) (denying class certification where

proposed representative lacked “a general understanding of the nature of class-action litigation,”

and had a substantial lack of knowledge of the case that “threaten[ed] to undermine plaintiffs’ case

as a whole.”); Russell v. Forster & Garbus, LLP, No. 17-CV-4274(JS)(AYS), 2020 WL 1244804,

at *4 (E.D.N.Y. Mar. 16, 2020) (denying certification where “Plaintiff did not speak with his




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    Further, although Plaintiff attempts to rehabilitate his status of an adequate class representation through
the declaration he submits in support of this Motion, that declaration has little probative value because it is
self-serving, lacks specific factual detail, and contradicts his sworn deposition testimony. See Cofimco USA,
Inc. v. Mosiewicz, No. 15-CV-9118 (SAS), 2016 WL 1070854, at *4 (S.D.N.Y. Mar. 16, 2016) (giving self-
serving declarations little evidentiary weight when they state legal conclusions without providing any
supporting details).

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attorney before initiating this action and then had no communication with his attorney for nearly a

year and a half after this action was filed”). 10

     V.      INDIVIDUAL CONSIDERATIONS PREDOMINATE OVER ANY CLASS
             ALLEGATIONS AND A CLASS ACTION IS NOT THE SUPERIOR
             METHOD TO ADJUDICATE THE CONTROVERSY.

          In addition to the requirements of Rule 23(a), Plaintiff must establish that any “questions

of law or fact common to class members predominate over any questions affecting only individual

members,” and that a “class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Even if Plaintiffs could rely on a

supposedly “uniform” course of conduct to satisfy Rule 23(a), they would still be required to show

that the variation among class members would not require “individual[ized]” inquiries of the sort

that “will inevitably overwhelm questions common to the class.” Comcast Corp. v. Behrend, 133

S. Ct. 1426, 1433 (2013). While Rule 23(a) requires that class members and class representatives

seek to vindicate essentially the same wrong, Rule 23(b)(3) “tests” in even more stringent fashion

“whether the proposed classes are sufficiently cohesive to warrant adjudication by representation.”

Amchem, 521 U.S. at 623. Plaintiffs cannot show such cohesion here.

             A. PREDOMINANCE

          Plaintiff fails to meet the “far more demanding” requirement (Amchem, 521 U.S. at 623–

24) that the general facts applicable to Palisades and Houslanger predominate over the individual

facts of each class member. “This "predominance" requirement is satisfied if: (1) resolution of any

material legal or factual questions . . . can be achieved through generalized proof, and (2) these

[common] issues are more substantial than the issues subject only to individualized proof. The



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    In determining the adequacy of class counsel pursuant to Fed. R. Civ. P. 23(g), it should be noted that
Plaintiff submits the qualifications of Brian Bromberg and Seth Andrews, but not the qualifications for his
other four counsel in this matter.

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distinction between "individual" and "common" questions is thus central to the predominance

analysis. In re Petrobras Sec. Litig., 862 F.3d 250, 270 (2d Cir. 2017) (internal quotations and

citations omitted).

        Plaintiff claims that predominance is more easily shown in cases involving “consumer or

securities fraud.” (Motion to Certify, at 13). However, this is not a fraud case, and Plaintiff

undercuts his own predominance argument by referring to his specific situation: “Because the

classes are limited to debt collection efforts that are similar or identical to the debt-collection action

pursued against Plaintiff, the Court will only need to decide liability with regard to one set of facts.”

(Motion to Certify, at 14). As argued extensively above, Plaintiff’s unique set of facts were brought

about by extended litigation in the state court which resulted in an ultimate finding that the

garnishment of the Plaintiff’s wages by Palisades was “rightful”, for which Plaintiff was ordered

to pay the garnished funds back to Palisades. (Dkt. No. 68) Plaintiff has unambiguously proven

that his individualized trip through the state court process was far more meaningful than a

generalized determination of the actions taken by Houslanger to enforce the judgment on behalf

of Palisades. Thus and so, the predominant legal and factual issues will be unique to each class

member and will not rely on generalized facts associated with the conduct of Palisades or

Houslanger.

        “Where individualized questions permeate the litigation, those fatal dissimilarit[ies] among

putative class members make use of the class-action device inefficient or unfair." In re Petrobras

Sec. Litig., 862 F.3d 250, 270 (2d Cir. 2017) (internal quotations and citations omitted). Therefore,

a class action is inappropriate in this case as individual allegations and individual proofs will

predominate over any common facts shared by the class.

            B. SUPERIORITY



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        Plaintiff assumes, without citation to any facts, that a class action will be superior to any

individual suit under the FDCPA. (Motion to Certify at 16-17). Plaintiff relies on a 7th Circuit

decision for the proposition that the class is superior because the FDCPA statutory damages

recoveries of up to $1,000 “assumes that the plaintiff will be aware of her rights, willing to subject

herself to all the burdens of suing and able to find an attorney willing to take her case.” Mace v.

Van Ru Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997). However, the court in Vandehey v. Client

Servs., Inc., 390 F. Supp. 3d 956, 962 (E.D. Wis. 2019) points out that “Mace did not say that the

likelihood of only a de minimis recovery for class members is never a proper consideration in

deciding whether to certify an FDCPA class under Rule 23.” Furthermore, Vandehey went on to

note that “[c]lass certification under these circumstances is likely to benefit only the attorneys

whose fees would be expected to increase substantially if a suit on behalf of one person is

transformed into a class action on behalf of 6,814. It is not the purpose of the FDCPA, however,

to benefit attorneys.” Id. at 963.

        In assessing superiority subject to an FDCPA class recovery calculation, this Court must

look at the inverse relationship between numerosity (amount of putative class members) and

superiority (amount of recovery). The greater the class size, the less monetary relief available for

the class. Plaintiff anticipates that the class will comprise between 8,800 to 11,000 total members.

(Motion to Certify at 8). Statutory damages are capped at the lesser of either 1% of the debt

collector’s net worth or $500,000. 15 U.S.C. § 1692k(a)(2)(B). The cap on damages signifies that

each member of class faces diminishing returns based on the total number of class members.

        The burden for proving superiority is on Plaintiff, who must establish that all aspects of

superiority have been fully met. See generally, Gallego v. Northland Grp. Inc., 814 F.3d 123, 129

(2d Cir. 2016) (“Denial of certification was within the range of permissible decisions where it



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appeared that the intended result of the settlement was "mass indifference, a few profiteers, and a

quick fee to clever lawyers.") See also Fainbrun v. Southwest Credit Systems, L.P., 2008 WL

750550 (E.D. N.Y. 2008) (superiority requirement not satisfied due to de minimis recovery);

Johnson v. Rausch, Sturm, Israel, Enerson & Hornik, LLP, 333 F.R.D. 314, 105 Fed. R. Serv. 3d

679 (S.D. N.Y. 2019) (Class action not superior method of litigation “even though allowing class

action would be efficient way of resolving claim that involved relatively small recovery and

concentrating case in one forum would improve fairness, since proposed settlement could result in

de minimis recovery for putative class members, as opposed to recovery of statutory maximum

damages if they proceeded in individual actions and prevailed on merits.”)

          Here, discovery closed five months ago after fifteen months of discovery. Yet Plaintiff

does not offer any evidence concerning the net worth of the Defendants nor any anticipated

recovery. Essentially, Plaintiff is asking the proposed class to waive claims of allegedly significant

value in exchange for an undisclosed amount of consideration. See Graff v. United Collection

Bureau, Inc., 132 F. Supp. 3d 470, 482 (E.D.N.Y. 2016) (“To hold otherwise would result in a

settlement that is not “fair, adequate and reasonable” vis-à-vis class members, who would be

waiving claims of potentially significant value in exchange for no consideration.”). Plaintiff has

therefore failed to carry his burden to prove, that a class action would be superior to individual

validation of each class member’s rights.

    VI.      CERTIFICATION SHOULD BE DENIED AS TO PLAINTIFF’S GBL § 349
             CLAIM BECAUSE PLAINTIFF DOES NOT PROVIDE ANY EVIDENCE
             WHATSOEVER SUPPORTING THAT CLAIM

          In addition to his failure to meet his burden on the Rule 23 factors, Plaintiff also fails to

adduce any evidence to certify a class based on the Palisades Defendants’ alleged New York

General Business Law (“GBL”) § 349 violations. (Motion to Certify at 1.) Plaintiff’s brief

contains a single sentence regarding the GBL in which Plaintiff claims that there is a common

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question of Defendants violation of the FDCPA “by engaging in post-judgment collection efforts

without the class members receiving proper notice of assignment,” WHICH also “constitutes a

deceptive and unconscionable practice or false or misleading representation in violation of GBL §

349.” (Id. at 4-5.)

        GBL § 349 prohibits “[d]eceptive acts or practices in the conduct of any business, trade or

commerce or in the furnishing of any servicing in this state.” N.Y.G.B.L. § 349(a). However,

GBL § 349 does not contain identical parameters as the FDCPA. Rather, GBL § 349 “requires a

plaintiff to prove three elements: “first, that the challenged act or practice was consumer-oriented;

second, that it was misleading in a material way; and third, that the plaintiff suffered injury as a

result of the deceptive act.” Mascoll v. Strumpf, 2006 WL 2795175, at *9 (E.D.N.Y. Sept.26, 2006);

see Stutman v. Chem. Bank, 95 N.Y.2d 24, 29, 731 N.E.2d 608, 612 (2000) (under GBL § 349

plaintiff “must show that the defendant's ‘material deceptive act’ caused the injury”).

        The Motion to Certify lacks any argument, let alone any supporting evidence, regarding

how Plaintiff suffered harm after the Palisades Defendants’ purported GBL § 349 violation.

Furthermore, Plaintiff also fails to explain the purported harm to the putative class and how his

injury was the same as theirs. For this reason, class certification as to Plaintiff’s GBL § 349 claim

should be denied. See Newman v. RCN Telecom Servs., Inc., 238 F.R.D. 57, 64 (S.D.N.Y. 2006)

(on GBL § 349 claim denying class certification because lead plaintiff “was not harmed by the

misrepresentations/omissions he alleges to have injured the class and is atypical of the class in this

regard”); Haag v. Hyundai Motor Am., 330 F.R.D. 127, 132 (W.D.N.Y. 2019) (denying class

certification of GBL § 349 class where plaintiff failed to make showing that “common issues

predominate with respect to the injuries allegedly suffered by the class members”).




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                                       CONCLUSION

        For the aforementioned reasons, Defendants respectfully request that the Court deny

Plaintiff’s Motion to Certify a Class and Appoint Class Counsel.




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Dated: New York, New York                  Respectfully submitted,
July 6, 2021                               BLANK ROME LLP

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